Case 1:22-cv-01459-GPG Document 1 Filed 06/09/22 USDC Colorado Page 1 of 6
Case 1:22-cv-01459-GPG Document 1 Filed 06/09/22 USDC Colorado Page 2 of 6
Case 1:22-cv-01459-GPG Document 1 Filed 06/09/22 USDC Colorado Page 3 of 6
Case 1:22-cv-01459-GPG Document 1 Filed 06/09/22 USDC Colorado Page 4 of 6
Case 1:22-cv-01459-GPG Document 1 Filed 06/09/22 USDC Colorado Page 5 of 6
Case 1:22-cv-01459-GPG Document 1 Filed 06/09/22 USDC Colorado Page 6 of 6
